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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,

                          Plaintiffs,
   v.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,                  Civil Action No. 3:17-cv-00072-NKM
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSLEY,
   IDENTITY EVROPA, MATTHEW                    JURY TRIAL DEMANDED
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL “ENOCH”
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                          Defendants.



                [PROPOSED] ORDER GRANTING CONSENT MOTION
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         WHEREAS, on November 22, 2017, the Court entered an Order Granting Consent

  Motion that, inter alia, provided a schedule for filing motions to dismiss the Complaint and for

  Plaintiffs to respond;

         WHEREAS, on January 5, 2018, Plaintiffs filed a First Amended Complaint;

         WHEREAS, on January 16, 2018, Plaintiffs and Defendants Christopher Cantwell,

  Nathan Damigo, Matthew Heimbach, Identity Evropa, Jason Kessler, Elliot Kline, National

  Socialist Movement, Nationalist Front, Matthew Parrott, Jeff Schoep, Traditionalist Worker

  Party, Vanguard America, Robert Ray, Michael Hill, Michael Tubbs, the League of the South,

  James Fields, and Michael Peinovich (collectively, “Joining Defendants”), submitted a Consent

  Motion for a Modified Briefing Schedule seeking to provide for a uniform schedule for

  Defendants to file motions to dismiss the First Amended Complaint and for Plaintiffs to respond;

         NOW, THEREFORE, it is ordered:

         1.      All motions to dismiss the First Amended Complaint from Defendants who have

  been served as of the date of this Order (the “Served Defendants”) will be due January 26, 2018,

  regardless of when a specific Served Defendant was served. If any Served Defendant wishes to

  rely on the briefing already filed in support of a motion to dismiss the Complaint, the Served

  Defendant may file a short motion to dismiss the First Amended Complaint incorporating the

  previously filed motion and memorandum of law.

         2.      Plaintiffs’ opposition to all Served Defendants’ motions to dismiss filed prior to

  entry of this order, or filed up to and including January 26, 2018, will be due February 19, 2018,

  regardless of when a specific Served Defendant files or filed their motion to dismiss.

         3.      Served Defendants’ replies in support of any motions to dismiss will be due

  March 5, 2018.
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         4.    Paragraph 4 of the Order Granting Consent Motion, dated November 22, 2017, is

  vacated.



  Dated: January _____, 2018

  SO ORDERED




                                                      Hon. Joel C. Hoppe, M.J.




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